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3                               UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                  ***

6      UNITED STATES OF AMERICA,                         Case No. 3:21-cr-00023-MMD-WGC

7                                     Plaintiff,                       ORDER
              v.
8
       CARLOS VASQUEZ-ORTIZ,
9
                                   Defendant.
10

11    I.     SUMMARY

12           On July 15, 2021, Carlos Vasquez-Ortiz was indicted on one count of deported

13    alien found in the United States in violation of 8 U.S.C. §§ 1326(a) and (b) (“Section

14    1326”). (ECF No. 12.) Before the Court is Vasquez-Ortiz’s motion to dismiss the

15    indictment (the “Motion”) on the grounds that Section 1326 violates the equal protection

16    guarantee of the Fifth Amendment under the standard articulated in Village of Arlington

17    Heights v. Metropolitan Housing Development Corp., 429 U.S. 252 (1977), as this Court

18    found in United States v. Carrillo-Lopez, Case No. 3:20-cr-00026-MMD-WGC.1 (ECF No.

19    25.) Both parties incorporate the arguments in Carrillo-Lopez by reference. (ECF Nos. 25

20    at 1, 26 at 2.) The government submits that the Court erred in its reasoning in Carrillo-

21    Lopez, and therefore that Vasquez-Ortiz’s Motion should be denied. (ECF No. 26 at 2.)

22    in the alternative, the government requests the Court stay consideration of Vasquez-

23    Ortiz’s Motion until the appeal in Carrillo-Lopez is resolved.

24           Because the government offers no additional argument or evidence as to why it

25    believes the Court erred in Carrillo-Lopez, the Court will grant Vasquez-Ortiz’s Motion.

26    The government argues that the Court erred in three respects: (1) by applying Arlington

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             1The   government responds (ECF No. 26) and Vasquez-Ortiz replies (ECF No. 28.)
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1     Heights instead of a more deferential standard,2 (2) by concluding racial animus was a

2     substantial or motivating factor of Section 1326,3 and (3) by concluding that Section 1326

3     would not have passed absent the demonstrated racial animus. The government does

4     not explain why the Court should change its opinion on any of these decisions. Indeed,

5     the government only cites to cases that the Court examined, at times extensively, in

6     Carrillo-Lopez.4 The Court therefore declines to reconsider its reasoning.

7             The government alternatively asks for a stay of Vasquez-Ortiz’s case pending the

8     appeal in Carrillo-Lopez. Vasquez-Ortiz argues that the government’s appeal in Carrillo-

9     Lopez will take months, if not years, to conclude—a period of time which exceeds any

10    potential sentence Vasquez-Ortiz would serve. (ECF No. 28 at 4.) Requiring Vasquez-

11    Ortiz to wait until the Carrillo-Lopez appeal is resolve would require him to either abandon

12    his Motion and proceed with being prosecuted under a statute this Court previously found

13    unconstitutional, or face a longer period of detention than he otherwise would be

14    subjected to. The Court agrees, and therefore will grant the Motion rather than stay the

15    case.

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              2Thegovernment suggests the standards set forth in Trump v. Hawaii, 138 S. Ct.
22    2392 (2019), Fiallo v. Bell, 430 U.S. 787, 792 (1977), and Kleindienst v. Mandel, 408 U.S.
      753, 765 (1972).
23
              3Thegovernment cites to Abbott v. Perez, 138 S. Ct. 2305, 2325 (2018), and
24    United States v. Machic-Xiap, --F. Supp. 3d --, Case No. 3:19-cr-407-SI, 2021 WL
      3362738 (D. Or. Aug. 3, 2021).
25
              4See United States v. Carrillo-Lopez, --F. Supp. 3d--, Case No. 3:20-cr-00026-
26    MMD-WGC, 2021 WL 3667330, at *1-2 (D. Nev. Aug. 18, 2021) (explaining why Trump,
      Fiallo, and Kleindienst do not apply); id. at *16-18 (explaining why Abbott does not justify
27    the government’s inference that a later reenactment is necessarily cleansed of racial
      animus); id. at *19-20 (disagreeing with the ultimate conclusion of Machic-Xiap); id. at
28    *20-24 (explaining that the evidence before the Court did not support the government’s
      allegation that Section 1326 would have passed absent discriminatory intent).
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1          It is therefore ordered that Vasquez-Ortiz’s indictment (ECF No. 12) is dismissed.

2          The Clerk of Court is directed to enter judgment accordingly and close this case.

3          DATED THIS 23rd Day of September 2021.

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                                             MIRANDA M. DU
6                                            CHIEF UNITED STATES DISTRICT JUDGE

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